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lN THE UNlTED STATES D|STR|CT COURT
FOR THE WESTERN D|STR|CT OF TENNESSEE 05 JUL 22 PH he 05

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Plaintiff

VS.
CR. NO. 04-20170-D

|V||CHAEL RAY PINKERTON, JR.

Defendant.

 

ORDER ON CONT|NUANCE AND SPEC|FY|NG PER|OD OF EXCLUDABLE DELAY
AND SETT|NG

 

This cause came on for a report date on Ju|y 21 , 2005. At that time, counsel for the
defendant requested a continuance of the August 1, 2005 trial date and requested a
hearing date on defendant’s motion to suppress filed on Ju|y 19, 2005.

The Court granted the request and reset the trial date to September 6, 2005 with

a su ression hearin I re ort date of Tuesda Au ust 30 2005 at 2:00 .m., in

 

Courtroom 3 9th Floor of the Federa| Bui|dingl Memphis, TN.

 

The period from August 12, 2005 through September16. 2005 is excludable under
18 U.S.C. § 3161 (h)(8)(B)(iv) because the ends of justice served in allowing for additional
time to prepare outweigh the need for a speedy trial.

n is so oRDEREo this,?_$' day of July, 2005.

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UNITED sTATE DISTRIC COURT - WTER D's'TRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 59 in
case 2:04-CR-20170 Was distributed by faX, mail, or direct printing on
July 27, 2005 to the parties listed.

 

 

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Honorable Bernice Donald
US DISTRICT COURT

